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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

IN RE:                                                      §              CASE NO.          18-41971
                                                            §
JEREMY DARRELL ARCHER and                                   §
KRISTEN LEANN ARCHER                                        §
                                                            §
DEBTORS                                                     §              CHAPTER           7

             MOTION OF GUARANTY BANK & TRUST FOR RELIEF FROM STAY
            AGAINST 2010 KEARNEY FLATBED TRAILER, 2013 CARGO TRAILER,
            2014 KAWASAKI MV, 1996 FEAT TRAILER, 2013 KAWASAKI MV, 2009
            LAMAR TRAILER, NEW HOLLAND TRACTOR AND All ACCOUNTS OF
          ARCHCO SUPERIOR CONSTRUCTION, L.L.C. WAIVER OF 30-DAY HEARING
              REQUIREMENT AND REQUEST FOR HEARING IN PLANO, TEXAS

                             NOTICE TO PARTIES IN INTEREST
              ANY OBJECTION OR REQUEST FOR HEARING MUST BE FILED WITH:
                          UNITED STATES BANKRUPTCY COURT
                     660 NORTH CENTRAL EXPRESSWAY, SUITE 300B
                                  PLANO, TEXAS 75074

         Your rights may be affected by the relief sought in this pleading. You should read this
         pleading carefully and discuss it with your attorney, if you have one in this bankruptcy
         case. If you oppose the relief sought by this pleading, you must file a written objection,
         explaining the factual and/or legal basis for opposing the relief.

         No hearing will be conducted on this Motion unless a written objection is filed with the
         Clerk of the United States Bankruptcy Court and served upon the party filing this
         pleading WITHIN FOURTEEN (14) DAYS FROM THE DATE OF SERVICE shown
         in the certificate of service unless the Court shortens or extends the time for filing such
         objection. If no objection is timely served and filed, this pleading shall be deemed to
         be unopposed, and the Court may enter an order granting the relief sought. If an
         objection is filed and served in a timely manner, the Court will thereafter set a hearing
         with appropriate notice. If you fail to appear at the hearing, your objection may be
         stricken. The Court reserves the right to set a hearing on any matter.

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW GUARANTY BANK & TRUST ("Movant"), and files this its Motion For Relief

From Stay, and in support would show the Court as follows:

                                                   I. JURISDICTION

         1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §1334 and 28 U.S.C. §157.
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Specifically, this is a proceeding to terminate, annul, modify, or condition the stay pursuant to 28 U.S.C.

§157(b)(2)(G) and 11 U.S.C. §362(d).

                                     II. INDEBTEDNESS TO MOVANT

        2.      Movant is the owner and holder of a Note made by Jeremy Archer and Kristen Archer in

the original amount of $48,654.61 dated July 20, 2015 (Loan No. Ending 0304, the “Archer Note”). In order

to secure payment of the Archer Note, Jeremy Archer executed a Commercial Security Agreement dated July

20, 2015, as the Managing Member of ARCHCO Superior Construction, L.L.C., granting Movant a security

interest in a 2010 Kearney Flatbed Trailer (VIN ending 2675). The Bank perfected its lien by notation on

the title. A true and correct copy of the Archer Note and Security Agreement are attached hereto as Exhibit

"A" and made a part hereof for all purposes.

        3.      Movant is the owner and holder of a Note made by ARCHCO Superior Construction, L.L.C.

in the original amount of $181,631.81 dated April 2, 2018 (Loan No. ending 0285, the “ARCHCO Note”).

In order to secure payment of the ARCHCO Note: (a) Jeremy Archer executed a Commercial Security

Agreement dated April 2, 2018 granting Movant a security interest in a 2013 Cargo Trailer (SN ending 4953)

and a 2014 Kawasaki MV (VIN ending 0115) and a second Commercial Security Agreement dated the same

date granting Movant a security interest in a New Holland Tractor; (b) Kristen Archer executed a

Commercial Security Agreement dated April 2, 2018, granting Movant a security interest in a 1996 FEAT

Trailer (SN ending 4759); and (c) ARCHCO Superior Construction L.L.C. executed a Commercial Security

Agreement dated April 2, 2018, granting Movant a security interest in all accounts, 2013 Kawasaki MV (VIN

ending 2962), 2009 Lamar Trailer (SN ending 2176), and 2010 Kearney Flatbed trailer (SN ending 2675).

The Movant perfected its liens by notation on the titles and by filing a Financing Statement on the accounts

and New Holland Tractor. A true and correct copy of the ARCHCO Note and Security Agreements are

attached hereto as Exhibit "B" and made a part hereof for all purposes. Debtors personally guaranteed the

ARCHCO Note.


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        4.          On or about September 3, 2018, Debtors filed a voluntary petition under Chapter 7 of the

United States Bankruptcy Code.

                                               III. RELIEF FROM STAY

        5.          The automatic stay should be terminated for cause pursuant to 11 U.S.C. §362(d)(1) in that

Debtors have failed to maintain insurance on the Movant's collateral. Debtors’ failure to maintain insurance

on the Movant’s collateral is cause to terminate the stay.

        6.          The automatic stay should be terminated for cause pursuant to 11 U.S.C. §362(d)(1) in that

the Movant's collateral continues to decline in value through ordinary depreciation. Debtors have not offered

nor provided the Movant with adequate protection. Debtors failure to provide the Movant with adequate

protection in the form of periodic cash payments to protect its interest in the collateral is cause to terminate

the stay.

        7.          The automatic stay should be terminated pursuant to 11 U.S.C. §362(d)(2) in that there is

no equity in the property that secures the Movant’s claim. Furthermore, the property is not necessary to an

effective reorganization.

                                           IV. ADEQUATE PROTECTION

        8.          Alternatively, if this Court refuses to terminate the automatic stay then Movant requests that

the Court order the Debtors to make adequate protection payments to Movant in accordance with 11 U.S.C.

§361(1). Debtors have not offered nor provided Movant with adequate protection of its security interest, nor

is the Movant adequately protected.

                               V. REQUEST FOR HEARING IN PLANO, TEXAS

        9.          Movant hereby waives the thirty day hearing requirement and requests that the hearing on

this Motion be set in Plano, Texas.

        WHEREFORE, GUARANTY BANK & TRUST prays that the Court enter an Order Terminating

the Automatic Stay so as to permit Movant to repossess and foreclose on its collateral and to dispose of the


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collateral in accordance with applicable state law or in the alternative, for adequate protection of its interest

in the property more fully described in the Notes and Security Agreements, and for such other and further

relief to which it may be entitled.

                                                        Respectfully Submitted,

                                                        MCNALLY & PATRICK L.L.P


                                              By:     /s/ Glen Patrick
                                                        State Bar I.D. #15579500
                                                        ATTORNEYS FOR GUARANTY BANK & TRUST
                                                        100 E. Ferguson St., Ste 400
                                                        Tyler, Texas 75702
                                                        Telephone No. 903/597-6301
                                                        Facsimile No. 903/597-6302

                                          CERTIFICATE OF SERVICE

        I do hereby certify that a true and correct copy of the foregoing was served either by electronic
means or by regular first class mail on all parties listed below, all as per Local Rule of Bankruptcy Procedure
9013(f) this 9th day of October, 2018.

                                                   /s/ Glen Patrick

DEBTORS:
Jeremy & Kristen Archer
2304 Wildwood Lane
Paris TX 75462

ATTORNEY FOR DEBTORS
Marcus Leinart
Leinart Law Firm
11520 N. Central Expwy, Ste 212
Dallas TX 75243

TRUSTEE:
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Chapter 7 Trustee
12770 Coit Road, Ste 541
Dallas TX 75251-1366




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